                       IN THE UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                               STATESVILLE DIVISION
                               Case No. 5:20-cv-00056-KDB-DSC

 KELLY KUNDMUELLER,                                  )
                                                     )
                          Plaintiff,                 )
 v.                                                  )
                                                     )
 PENTAGON FEDERAL CREDIT UNION                       )
 and TRANS UNION LLC,                                )
                                                     )
                        Defendants.                  )
                                                     )
                                                     )

                                       PROTECTIVE ORDER
       Pending before the Court is the Parties’ Joint Motion for Protective Order. After considering

said Motion, the Court finds that it should be GRANTED. It is therefore, ORDERED that the

parties comply with the provisions of this Order set forth below.

       Kelly Kundmueller has filed this lawsuit (the “Litigation”) against Defendants Pentagon

Federal Credit Union and Trans Union LLC, (“Defendants”), alleging that Defendants are liable to

Plaintiff for damages resulting from alleged violations of the Fair Credit Reporting Act, 15 U.S.C.

§ 1681 et seq. In connection with the Litigation, Plaintiff will seek discovery or testimony

regarding certain of Defendants’ confidential and proprietary trade secrets and other business

information and Defendants will seek discovery or testimony regarding the personal identifying

information of Plaintiff (herein after collectively referred to as the “Confidential Information”).

       As a means of avoiding dispute with respect to any Parties’ requests for the Confidential

Information, the Parties have agreed to produce certain Confidential Information pursuant to the

terms of this Order.




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        All Confidential Information shall only be utilized by the Parties in connection with the

Litigation and in accordance with the terms and conditions of this Order.

        The Parties shall have the right to designate as Confidential Information any part or the

whole of any answers to discovery, answers to interrogatories, answers to requests for admission,

deposition transcripts, responses to production requests, documents, expert reports, disclosures,

exhibits, trial or deposition testimony or other information that the Parties deem to be confidential.

Any document, discovery, testimony, or other information that the Parties have designated as

Confidential Information shall constitute Confidential Information, both in form and substance.

        The Confidential Information provided by any of the Parties shall be used strictly in

accordance with the terms in this Order. At no time shall the Confidential Information be disclosed

to or used by any person, corporation, or entity in competition with or against any of the Parties.

        The Parties may designate any document, discovery, or other information as Confidential

Information by an appropriate marking that prominently displays the words “Confidential” or

“Confidential Information”. Deposition or trial testimony can be designated by the Parties as

Confidential Information. Such designation will be made on the record if possible, but the Parties

can designate portions of such testimony as Confidential Information by providing written notice

of such designation to the opposing Parties within thirty days of receipt of the transcribed testimony

by counsel. Until thirty days after receipt of the transcribed testimony, such testimony shall be

treated by the Parties as Confidential Information.

        The Parties, their attorneys, or anyone else acting on their behalf shall take such precautions

with the Confidential Information as are necessary to strictly maintain its confidentiality and

comply with the terms of this Order.




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       Unless otherwise ordered by the Court, or agreed to in writing by the Parties, information

designated by any of the Parties as Confidential Information shall not be revealed to any person or

entity except: (i) the parties, their attorneys and their attorneys’ support staff employees who

perform work tasks related to this case; (ii) qualified persons taking testimony involving such

material and necessary stenographic and clerical personnel; and (iii) expert witnesses and their staff

employed for this litigation after such experts have signed the acknowledgment attached as

Exhibit A; (iv) present or former employees of the producing party in connection with their

depositions in this action, including witnesses produced pursuant to Fed. R. Civ. P. 30(b)(6);

(v) witnesses who are deposed in this action or who are called to testify as witnesses at any hearing

in this action, but only in preparation for the deposition or hearing and only as to such material in

which the witness is identified as an originator, author, addressee, or recipient of the original or a

copy; (vi) outside professional vendors that provide litigation support services, such as

photocopying, imaging, videotaping, exhibit preparation, etc. after such vendors have signed the

acknowledgment attached as Exhibit A, and (vii) the Court, Court personnel, and members of any

jury impaneled to hear this case.

       In the event the Parties intend to file Confidential Information with the Court, they shall

file it under seal pursuant to the requirements of Local Civil Rule 6.1.

       In the event a Party disagrees with the designation of Confidential Information, the Parties

shall first try to resolve the disagreement in good faith on an informal basis, such as the production

of redacted copies. In the event such a dispute cannot be resolved by agreement, a Party may move

the Court for modification of this Order. The Confidential Information designation shall be

maintained pending disposition of such a motion.




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       This Order shall govern pretrial proceedings only, and nothing set forth herein prohibits the

use at trial of any Confidential Information or affects the admissibility of any evidence. The

procedures to govern the use and disclosure of Confidential Information and the redaction of any

“Confidential” or “Confidential Information” designation may be the subject of further agreement

of the Parties or order of the Court.

       Nothing herein shall be construed as limiting a Party’s use of its own Confidential

Information and such use shall not constitute a waiver of the terms of this Order or the status of

such information as Confidential Information. Any of the Parties can remove their designation of

Confidential Information from any information it has previously so designated.

       The Parties cannot use or disclose any Confidential Information in any pretrial court

proceeding that is open to persons not authorized to have access to such Confidential Information

under the terms of this Order. This provision does not limit the right of any of the Parties to submit

any Confidential Information to the Court under seal as described above.

       Third parties who are the subject of discovery requests, subpoenas or depositions in this

case may take advantage of the provisions of this Protective Order by providing Plaintiff, Pentagon

Federal Credit Union, and Trans Union with written notice that they intend to comply with and be

bound by the terms of this Protective Order.

       Within sixty days after the final resolution of the Litigation, including any appellate

proceeding, the Parties agree to return to opposing counsel the original and any copies of any

Confidential Information produced.

       SO ORDERED.                      Signed: October 18, 2020




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                                              EXHIBIT A

         The   undersigned      has   read    and   understands    the   terms   of   the   Agreed

Protective/Confidentiality Order effective in this case, Kelly Kundmueller v. Pentagon Federal

Credit Union, et al., Civil Action No. 5:20-CV-00056-KDB-DSC, which is currently pending in

the United States District Court for the Western District of North Carolina, Statesville Division.

The undersigned agrees (i) to abide by the terms of the Agreed Protective/Confidentiality Order;

(ii) not to use or divulge, under penalty of law, any documents, materials or other information

covered by the Agreed Protective/Confidentiality Order, including Confidential Information,

except as permitted by the terms of the Agreed Protective/Confidentiality Order; and (iii) to submit

to the jurisdiction of the United States District Court for the Western District of North Carolina,

Statesville    Division   for    resolution    of   any   issues   arising   under    the   Agreed

Protective/Confidentiality Order.




Dated:                                         Signed:

                                               Printed:




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